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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
v. M.B.D. NO. 06-10427-PBS

JEFFREY SHIELDS

ORDER
___The Court, pursuant to 18 U.S.C. § 4247(b), hereby ORDERS a psychological
examination and report be conducted of the respondent at the government’s expense. The
examination shall be conducted by Joseph Plaud, Ph.D., 44 Hickory Lane, Whitinsville, MA

01588, email plaud@fdrheritage.org, and the examiner shall file a report pursuant to 18 U.S.C,

§ 4247(c).

JEFFREY SHIELDS
By his attorney,

/s/ Page Kelley
Page Kelley

B.B.O, #548237
Federal Defender Office
408 Atlantic Avenue, 3rd Floor
Boston, MA 02110
Tel: 617-223-8061
October 2, 2007

CERTIFICATE OF SERVICE

Lhereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non registered participants on October 2,
2007.

/s/ Page Kelley
Page Kelley
